
307 S.W.3d 683 (2010)
In the Interest of B.V., B.V., K.V., and B.V., minors
Juvenile Officer, Petitioner/Respondent,
v.
F.V., Respondent, and
K.V., Respondent/Appellant.
No. ED 92886.
Missouri Court of Appeals, Eastern District, Division One.
March 16, 2010.
Motion for Rehearing and/or Transfer to Supreme Court Denied April 19, 2010.
David R. Crosby, Hillsboro, MO, for appellant.
Scott T. Summers, Hillsboro, MO, for respondent.
Before KATHIANNE KNAUP CRANE, P.J., CLIFFORD H. AHRENS, J., and NANNETTE A. BAKER, J.

ORDER
PER CURIAM.
Mother appeals from the judgment of the trial court terminating her parental rights to her four minor children. The judgment is supported by substantial evidence and is not against the weight of the evidence. No error of law appears. Murphy v. Carron, 536 S.W.2d 30, 32 (Mo. banc 1976).
An opinion reciting the detailed facts and restating the principles of law would have no precedential value. The parties have been furnished with a memorandum opinion for their information only, setting forth the facts and reasons for this order.
The judgment is affirmed in accordance with Rule 84.16(b).
